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12
13                                 UNITED STATES DISTRICT COURT

14                              SOUTHERN DISTRICT OF CALIFORNIA

15
16    UNITED STATES OF AMERICA,                    CASE NO.: 18-CR-4683-GPC

17                          Plaintiff,             Honorable Gonzalo P. Curiel

18             v.                                  DEFENDANT MARK MANOOGIAN
                                                   SENTENCING SUMMARY CHART
19    MARK MANOOGIAN,

20                          Defendant.

21
22             Defendant, Mark Manoogian, through his counsel, hereby files his Sentencing Summary

23    Chart.

24    Dated: September 26, 2022                     MINTZ, LEVIN, COHN, FERRIS,
                                                    GLOVSKY AND POPEO, P.C.
25
                                                    s/ Randy KK. Jones
26                                                  Randy K. Jones
27                                                  Daniel J. Goodrich (Pro Hac)
                                                    Ryan Dougherty (Pro Hac)
28                                                             for Mark Manoogian
                                                    Attorneysfor

                                            1
                         MARK MANOOGIAN SENTENCING SUMMARY CHART
     Case 3:18-cr-04683-GPC Document 502 Filed 09/26/22 PageID.7451 Page 2 of 3




 1                                 SENTENCING SUMMARY CHART

 2                                                                                   USPO ☐
                                                                                          ❑

 3                                                                                   AUSA ☐
                                                                                          ❑

 4                                                                                    DEF       ☒
                                                                                                El

 5                                    Sentencing Date: October 3, 2022

 6    Defendant’s Name: Mark Manoogian
      Defendant's                                              Docket No.: 3:18CR04683-002-GPC

 7    Guideline Manual Used: November 1, 2021                         Agree with USPO Calc.: NO

 8    Base Offense Level: USSG § 2B1.1(a), Electronic Mail Fraud                                6

 9    Specific Offense Characteristics: USSG § 2B1.1(b)(1)(G)- loss of $313,700             +12

10    Victim Related Adjustment:                                                          ______

11    Adjustment for Role in the Offense:                                                 ______

12    Adjustment for Obstruction of Justice:                                              ______

13    Adjustment for Reckless Endangerment During Flight:                                 ______

14    Adjusted Offense Level:                                                               18

   (☐Combined (Mult. Counts) ☐Career
15 (❑Combined                ❑Career Off. ☐Armed
                                          ❑Armed Career Crim.)

16                                                 [☐Gov. Motion Under USSG § 3E1.1(b)] _-3_
      Adjustment for Acceptance of Responsibility: [❑Gov.                               __-3__

17    Total Offense Level:                                                                  15

18    Criminal History Score:                                                             ___0___
                                                                                             0

19                               (☐Career Offender ☐Armed
      Criminal History Category: (❑Career          ❑Armed Career Criminal)                  I

20    Guideline Range:                                                            from ___12__
                                                                                          12_ mths

21           Range limited by: ☐minimum
                               ❑minimum mand. ☒statutory
                                              ®statutory maximum                     to __12__
                                                                                          12 mths

22    Departures:

23    Combination of Factors, USSG § 5K2.0                                                      -7

24
25    Resulting Guideline Range:                                                   from __0__
                                                                                          0 mths

26                                                                                    to ___6_
                                                                                            6_ mths

27
28
                                            2
                         MARK MANOOGIAN SENTENCING SUMMARY CHART
     Case 3:18-cr-04683-GPC Document 502 Filed 09/26/22 PageID.7452 Page 3 of 3




1
1                                      CERTIFICATE OF SERVICE

2             Counsel for the Defendant certifies that the foregoing pleading has been electronically

 3    served on the following parties by virtue of their registration with the CM/ECF system:

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                                                                   K. Jones
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      129991592v.1                      CERTIFICATE OF SERVICE
